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§§
' ' .s. distant const
IN THE UNITED sTATES DISTRICT CoUR”EAsiiaN asian aaaasis
EAST_ERN DISTRICT oF ARKANSAS_ gm 2 § 2§32
WESTERN I)rvlsIoN _ .
_ ` inns w. nccoansci€. GLERK
' ED'DIE KEATHLEY, DUANE _ ' BY"---~""‘E€FT“."E`F€§E'°
_ CHAPMAN, ALBERT'MILLER, ' ‘ `
LEE HARROD, WALLA-CE _ _
POGL.E and RICK_ KINSEY _ V PLAINT`IFFS
VS_-` ' NO. 4-02*0\1-00052£%!€_';;§§ j, -‘
LAWRENCE JoHNSoN, individua-liy,r _` _ _ l _ _ -
and-in his official capacity as the Chief Th'$ ease assigned to D'Smci_‘judgezk§m
of Police in and for the City of Litt!e ' and tO_MGQiSiFBi€‘ JUC§Q€ 7 '
Rock, Arkansas, and the CITY ()F ` '
LITT_LE ROCK, ARKANSAS y 'DEFENDANTS

COMPLAINT

 

Corne the Plaintifi`s, Eddie Keathley, Duane Chapman, Albert Miller, Lee Harrod,
Wallace Poole and Rick Kinsey, by and through their attorney, Edward G. Adcocl<,_ and for

-theii Complaint against the Dei`endants named herein, states and alleges:
I.

Introduction

This is an action for declaratory_, injunctive.and monetary-relief biought by the Plainti§$,
Eddie Keathley,-Duane Chapman, Albert Miller, Lec Harrod, W`allace Poole and Rick
'Kinsey, against lawrence JohnSo-n and the City of Little Rock, Arl<ansas, alleging as more
specifically set lt`orth below, -a} that Dei`endant Iohnson, acting individually and in his official
capacity as the_ Chief of'Police in and for the City of Little'Rocic1 did discriminate against Plaintifi`S
in employment on the basis of race thereby denying _Plaint_iii`s the equal protection of law
guaranteed them by and through the Four-teenth Amendment`to the Constitution of the United

States of America, -b) that the acts of Dei`endant Johnson complained of above Were part of a

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pattern, practice and policy ot` the City of Little Rock which condoned and encouraged
discrimination against white sergeants in the Little Rock Poiice Department, also in violation ot`
_ the right-to equal protection of law secured to Plaintiti`s by and through the Fourteenth-
Amen_dment to the Constitution of the United States ot`Arnerica, and c) that the acts and conduct
of'Det`endants complained of herein had the practical effect of . denying Piaintids equal

employment opportunity in the Little Rock Police D:epartrnent.
H.

Jurisdiction and Venue
1. Jurisdiction ot`this C.ourt is invoked pursuant to 42 U,S_C. §'1983 and 28 U.S.C_ § '
1343(a)(3) & (4) to redress deprivations of rights guaranteed by then Constitution of the United

7 States, specifically the right to equal protection ot` Ia\iv guaranteed by the Fourteenth` Ainendment.
2. Venue of this Court is proper pursuant to 28 U_S.C. Section l391(b) in that all
conduct complained ot` herein occurred and all claims raised herein arose -Within the boundaries of

the Eastern District'of Arlcansa_s.
III.

The Parties

3. Plaintiffs Eddie Keathley, Duane" Chapman, Albert M_iiler, Lee Harrod, _i
Wallace Poolc and Rick Kinsey are adult citizens of the United States residing in Pulasl<i and -
` Peny Counties in the State of Arkansas. Plaintii’t`s are white At all times pertinent hereto theyl
served as Sergeants` in the Little Rock Police Department_ n

4. Det`endant Lawrenc-e Johnson is an adult citizen of the United States residing in
I,ittle Rocl<7 Pulasl<i County_, Arkansas. -Det`enda`nt Johnson is Black. At all times pertinent l
hereto Det`endant J'ohnson- served as the Chief of Police in and for the City of Little Rock,
Arlcansas._ The acts-and conduct of _Dei`endant Johnson complained of herein were done under

color of state law and constitute “state action" Within the meaning of 42 U.S.C. § 1983.

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5. Def`endant City-of Little Rock, Arkansas is a governmental entity organized and
acting pursuant to the laws of the State of Arl<ansas. All of the acts and conduct of
employees/officials of the Defendant City o-f` Little Roclt, Arl<ansas complained of herein were l
done under color of state law and constitute "state action" within the meaning of 42 U.S.C. §

1983.

IV.

IP.§..F£§I§

7. Plaintiffs Keathley, Chapman Milier, Harrod Poole and Kinsey are all employed
as Sergeants 1r_1 and for the Little Rocl< Police Department. Plaintiffs all have long tenure with the
department and all have a minimum of several years experience as sergeants All Plaintiffs have
performed weil as Sergeants many of them having received receiving numerous awards and
certificates and consistently good performance evaluations throughout their careers

_ 8. The rules and regulations of the Little Rocl< Police Departrnent require that
vacancies to be filled by lateral transfer be advertised

9. Since becoming Chief of Police, in violation of departmental rules and regulations,
Defenda_nt Johnson has consistently failed and rehised to advertise vacancies Rather_, Defendant-
John.son has arbitrarily selected sergeants for transfer from one job assignment to another without
‘ giving others the opportunityto compete or even express interest in the vacancy

10. Sin_ce becoming Chief of Police, Defendant Johnson has consistently favored black
sergeants in making transfer decisions Spec_ifically: a) black sergeants have consistently received-
transfers to choice job assignments that provide experience and training that enhances ones-
promotion potentiai; and,` b) black sergeants have consistently received transfers to choice job
assignments with favorable work schedules

ll.; As a direct result of Def`endant Johnson' s favoritism the following disparities have
developed between black and white sergeants in the Littl e Rocl< Police Department: a) Only one:

(l) black sergeant remains assigned to the Patrol Division_ All other black sergeants hold jobs in

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other divisions that'enhance their promotion potential and, hence, their income potential; and, b)'
With the exception of probationary employees virtually every transfer or reassignment of a blach
officer made by Defendant-.Tohnson has`resuited in that-officer being given favorable work
schedules Twenty-nine (29) of the thirty-five(SS) transfers/reassignments of black officers have
a resulted in the transferee having Saturdays and Sundays off 7
12. l Defendant Johnson's transfer decisions complained of above are part and parcel of
_ a pattern, practice and custom of the City of Little Rock which condones and encourages
discrimination against white officers in the area of job assignments in the Little Rocl< Police
` Department_ n .` f
l 13. As a result of the conduct and actions of the -Defendants, as described above,
. Plaintif`fs have suffered actual injury, including but not limited to violation of their rights
guaranteed by the U. S. Constitution as well as loss of income potential, loss of career
opportunities as well as humiliation and emotional distress
14. The acts and conduct of Defendant _Johnson complained of herein were willful and _ “
malicious and done with the specific, purposeiiil intent to favor black officers and, consequently,
to harm Plaintiffs and to deprive them of _ their constitutionally-_guaranteed right to equal
protection of the law_ 7 l
Deman.d for a Jurv Tria_l n
15. 7 _Plaintiff`s request a trial by jury.
VI.
_ _C_aa§_esoi”_M
ld. Plaintiff`s incorporate Paragraph Nos. l through 14, above, as though specifically
set forth word-for-word, and set forth the following causes of action, to wir: (a) that the actions
and conduct of Defendant Johnson, as described above, depn`ved Plaintiffs of their right to the

equal protection of law secured to them by the Fourteenth Amendment to the Constitution of the

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United States of America; and_, that the actions and conduct of Defendant Iohnso`n complained of
herein were part and parcel of a pattern, practice and custom of the City of Little Rocl< which
l deprived Plaintiffs of their right to 'the equal protection of law secured-to them by the Fourteenth

Amendme`nt to the Constitution of the United States of Arnerica.

VH.

Prayer for Reliel`
WHEREFORE, in consideration of the _foregoing, Plaintiffs, after service of this

» Complaint upon the-Defendants herein, prays the Clerl< set this matter'.for trial by jury and, upon a
verdict thereon, prays for this Court ton enter -§ludgment: (a) declaring the acts and conduct of the
Defendant 'Johns`on complained of herein deprived Plaintiffs of their constitutionally'»protected
right to the equal protection of law in violation of the Fourteenth Arnen_dment to the Constitution
of` the U S.; (b) declaring that the acts and conduct of Defendant johnson complained of herein
were a part of a pattern, practice and custom of then City of Little- R_ocl< encouraging and
condoning discrimination on the basis of race in violation of the Fourteenth Ainendment_ to the
Constitution of the U'. S._; (c) directing the Defendants to cease and desist_in the pattern of
discrimination and awarding Plaintif‘f‘s compensatory damages for the loss of constitutional ri ghts;
(d) awarding Plaintiffs_ punitive damages against Defendant Johnson; (e) awarding Plaintiffs
. prejudgment interest; (l`) awarding Plaintiffs their costs, including reasonable attorneys' fees
i)ArEn ins w day er familiar ,/1»9’,%@¢.

Respectfully submitted,

Edward d. Adcock' _
Arkansas Bar No. 83001
lOlS Cumberland # ll '
Little Rock_, A_R. 72202 .
Phone'. (501) 375-2702

 

Attorney for Plaintiff_,

